Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 1 of 25 PagelD #: 114

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

JOHN DOE,
Plaintiff,

Vv. C.A. No, 1:19-cv-1963-MN

Nee Ne Ne ee Nee ee”

UNIVERSITY OF DELAWARE, BOARD )
OF TRUSTEES OF THE UNIVERSITY OF)
DELAWARE, and DANICA MYERS, )

)
Defendants. )

PLAINTIFF’S ANSWERING BRIEF IN OPPOSITION
TO MOTION TO DISMISS

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Dated: November 27, 2019
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 2 of 25 PagelD #: 115

 

TABLE OF CONTENTS
Page
TABLE OF AUTHORITIES uu... ccscssccsessesceessenseseeestereeserseeeeseeseseeseeessessesesaseesaseesnesageaees iti
NATURE AND STAGE OF THE PROCEEDINGS wo. cecscesssseneesseteceesssecestersesasseesseneees 1
STATEMENT OF FACTS wccsssscsssessssctetesssrsessstersersseesessesesecssessssessenssessesesssesseeseneees 2
A. Doe Completes His Course Of Study, Unconditionally Earns
His Degree & Graduates By June 1, 2019. icssccnseeretesesrerseesseeserenees 12
B. Doe Is Subjected To An Unconstitutional & Legally Infirm
Disciplinary Process By The Defendants .......cieeeseseeensenseseeeeseseeneenernes 2
C, Doe Is Excessively & Illegally Sanctioned By The
Defendants; They Arbitrarily Purport To Take His Vested
Property Rights AWay..csscsssesssseerssresssrseresssnssasteessssressseenseseareneens 3
D. The Defendants Have Breached Doe’s Enrollment Contract,
Taken Valuable Property Rights, Exceeded Their
Jurisdiction & Violated Doe’s Constitutional Rights 0... ceeeeseeeeeeens 5
ARGUMENT |. ccccsscsssessetstsessenecssssetsssenssseeessesessassenscsssenessseesserseseseeesarsesennenesnesnseeseesneneens 7
I. RULE 10(a) WILL BE COMPLIED WITH... cesseescceteseereseenseseseeeenetsens 7
IL. DOE’S CLAIMS PASS MUSTER UNDER RULE 12(b)(6)
OR AMENDMENT SHOULD BE ALLOWED wu... ce cecteeteteetesneneeeeeneeees 7
A. Standard Of Review Under F.R.C.P. Rule 12(b)(6) cc cseseeneeeees 7
B. Sufficient Title IX Violation Allegations Are
Contained In The Complaint .........cccsccscssecssecsssssesresetesseeeseneeess 7
C. Doe Pled Constitutional Due Process Violations ....ccseceeseeteeee 11
D. No Jurisdiction Existed Over Doe Under The Policy... eee 13
E. The Individual Defendants Are Not Entitled To
Qualified IMMUNITY wc ee eteeseeeeteenecssstseesestsesereessetsesnessesceenees 16
F, The Contract And Quasi-Contract Claims Are Not
Founded Upon A “Catalog” Or The Student Guide to
University Policies ....cssccssccsessessssesseseseesecsscssesecsrsecseteeeeestecsessees 17
G. The Complaint Well Pleads Facts Sufficient To
Assert Claims Against The Boatd wu... cccscesesrsssessstesssetsenesseserens 19
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 3 of 25 PagelD #: 116

H. An Opportunity To Amend Should Be Permitted, If
NECOSSALY v..csscescescesscesessesssesessestescesesssseesesseseesssoseeseusvenesenesseasness 19

CONCLUSION... ccscsstsssrsssecsevevsstssssressssevscsasssssssssesssnserssessessseseasenseneenssnensenesaenecnsasensnes 20

ii
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 4 of 25 PagelD #: 117

 

TABLE OF AUTHORITIES
Page

Cases
Apau v. Printpack Inc.,

722 F.Supp. 2d 489 (D. Del. 2010)... eesseneeseesesresereeeneens seseeseeaeeseeesenaeeeeeeseenaeasnees 7
Bell Atlantic Corp. v. Twombly,

550 U.S, 544 (2007)... csscscscessesseterssesseessecsssassesesessenseensessessesesneseessnsesseneseeseneesesssaasegs 7
Collick v. William Paterson University,

2016 WL 6824374, McNulty, D.J. (D.N.J., Nov. 17, 2016) vcscsccsesseecssrssssssessens 13
Doe v. Alger,

175 F, Supp. 3d 646 (W.D. Va. 2016) vciccccsssercsssestsreserscrsssersssssseeevssrseresteersssesnees 12
Doe v. Baum,

903 F.3d 575 (6! Cir, 2018) vscscssecssssssesssssessssessssessesssssesssesesesssssasenesessseseesssesceneneseenees 9
Doe v. Delie,

257 F.3d 309 (3° Cir, 2001) .ccscsccsssesesssescssessecsecsessessessseseesseusssesseesececseeaeeseeeeseetsaneaseanen 7
Doe v. Pennsylvania State University,

276 F.Supp. 3d 300 (M.D. Pa. 2017)... ecscssetesserestereeesesserssnsensnestestenssissesseessersesesens 11
Doe vy. Pennsylvania State University,

336 F.Supp 3d 441 (M.D. Pa. 2018)... ccccscsesseeseteeteererserssessessnseseessessecntecsessessaseres 11
Doe vy. Purdue University,

928 F.3d 652 (7! Cit, 2019) vccsscccsssscserescssssssesssessesesseresssesesessscsesveesssessseaessecavens 11, 12
Doe v. Rector & Visitors of George Mason University,

149 F, Supp. 3d 602, 622 (E.D. Va. 2016) cessstetssssccsecressessesrecesssssassessessesees 12
Doe v. Rector and Visitors of University of Virginia,

2019 WL 2718496, Conrad,

D.J. CW.D. Va., June 28, 2019). csseccsecssnserererserssssssrsessssssessessesseseessensseresssseessenens 12
Johnson v. Rooney,

2011 WL 2178693, Scott, J. (Del. Super. 2011)... cceecssecsseeteeserecsstecesteeseseesnascenees 18
Nicholas v. Pennsylvania State University,

227 F.3d 133 (3 Cir. 2000) .c.ccccscccsessssesvescsssessesssesesvessesssessesesvssesesesessseseecaveseavevessees 13
Yeasin v. University of Kansas,

360 P.3d 423 (Kan. App. 2015). ceescscsseesstsercecnessenecrssesesseesesssersessstsesteessessseaseacees 9

iti
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 5 of 25 PagelD #: 118

Statutes

20 ULS.C. § 1681, Tithe IX... cciccsccsestscssersessecesersecsaseaseeesserescescrsensssseeseseaseeesneseey passim
AZ US.C. § 1983 cicecssssssstenessssseveesssessssesesessssssessessssnssssssssessssessesiseeseseteeesessseeesseeseseesseeeens 1
Rules

Fed. R. Civ. Pro, 12d). cescsccessccsescesssnsccseesssssecssstessssesssseceseseessesseeesssscnsesessssanavenseasaes 7
Fed. R. Civ. Pro. 15 wiccicecssssssecereesessersesscnserssenesssesorscrscssecesseessseseseeseseeesnesasenesnessesnaseees 19

iv
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 6 of 25 PagelD #: 119

NATURE AND STAGE OF THE PROCEEDINGS

This action was initiated pursuant to the filing of a Complaint on October 16, 2019.
The Complaint contains 7 Counts: 1) Violations of Title IX, 20 U.S.C. § 1681;
2) Violations of Civil Rights, in contravention of 42 U.S.C. § 1983 based upon Statutory
and Constitutional violations; 3) Declaratory Judgment and Specific Performance claims
seeking conferral of a Bachelor’s Degree, Diploma, and unvarnished Transcript and
invalidating the Student Disciplinary outcome and/or Sanction; 4) Breach of Contract and
alternative claims for Promissory Estoppel, and Breach of the Implied Covenant of Good
Faith and Fair Dealing, based upon failure to confer Degree, Diploma, and Transcript.

In Defendant’s Opening Brief in support of their Motion to Dismiss dated
November 9, 2019 (“OB” or “Opening Brief”), the Defendants chose to misuse this section
of the brief in contravention of Rule 7.1.3(c)(C). Defendants included an unsupported
allegation that Plaintiff John Doe (“Doe”) “was charged with having committed a serious
sexual assault against another University student.” OB at 1. All sexual assault allegations
are “serious,” but there is nothing contained in the Complaint that would support that
proposition. Indeed, the Complaint expressly pleads that the level of severity of the offense
was “moderate” at best.

Next, the Defendants misstate the basis for Doe bringing this action, attempting to
transmogrify his well-pled grounds for seeking relief into an attempt to not “accept
responsibility.” OB at 1. The Defendants cast aspersions upon Doe for pursuing legal

redress, which is not appropriate anywhere in a brief.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 7 of 25 PagelID #: 120

STATEMENT OF FACTS

 

Due to brief length limitations, additional facts are referenced and cited in the
Argument section. The facts below are based on the Complaint.

A. Doe Completes His Course Of Study, Unconditionally Earns His Degree &
Graduates By June 1, 2019

 

Doe was enrolled in a Bachelor’s Degree program at the University of Delaware
from Fall Semester 2016 through the end of Spring Semester 2019. Complaint at para. 8.
He successfully and unconditionally completed all requirements needed to obtain his
Bachelor’s Degree by late May of 2019. Complaint at paras. 9. and 11. Doe participated
in the formal graduation ceremonies conducted by the University on June 1, 2019.
Complaint at para. 10.

B. Doe Is Subjected To An Unconstitutional & Legally Infirm Disciplinary Process
By The Defendants

In mid-December of 2018, Doe was informed in writing by the University (the
“University Notice Letter”) that a complaint (“complaint”) had been initiated against him
by a female student (“Roe”). Complaint at para. 16. Roe alleged that Doe had committed
a violation of the University’s Sexual Misconduct Policy (the “Policy”). Complaint at para.
17, The University Notice Letter, however, only notified Doe that Roe alleged a “sexual
assault” and nothing more. Complaint at para, 18.

The Board is aware of, and has expressly and/or tacitly approved, the Policy, Title
IX, and the limits of jurisdiction under both. Complaint at para. 19, And the Board is
aware of, and has expressly and/or tacitly approved, Myers’ role under the Policy and Title
IX. Id. The Policy was adopted by the University and the Board in order to carry out their
legal obligations under Federal law, namely 20 U.S.C. § 1681 ef seq., which prohibits

sexual discrimination by educational institutions (“Title IX’’). Complaint at para. 20.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 8 of 25 PagelD #: 121

The Policy concedes that its jurisdiction is limited to the bounds of Title IX and
that its procedures are provided for in order to comply with Title IX. Complaint at para.
21. But the incident upon which the complaint was based had no nexus with any University
program or activity; the complaint should never have been pursued based upon lack of
jurisdiction. Jd.

The University did not provide Doe with a copy of the Complaint, as required by
the Policy. Complaint at para. 22. Nor did the University provide Doe with notice of even
a summary of the allegations contained in the Complaint. Complaint at para. 23. He was
not advised of Roe’s story until after it was too late: when he was put on the spot by the
Investigator at the interview she conducted.! Complaint at para 25.

Consistent with the Policy, Doe was denied the ability to: a) be fully represented
by legal counsel; b) receive a hearing; c) receive notice of the predicate acts forming the
basis for the charge(s) alleged; d) be advised of the allegations brought by Roe at the
earliest opportunity in the proceedings, in order to fully and fairly prepare a defense; and
e) cross-examine and confront his accuser. Complaint at para. 26. Instead, Roe was
shielded, hidden from view, not subjected to adverse questioning, and permitted to avoid
the normal procedures that are necessary in order to accord an accused the full panoply of
Constitutional Due Process rights. Jd.

C. Doe Is Excessively & [legally Sanctioned By The Defendants; They Arbitrarily
Purport To Take His Vested Property Rights Away

Pursuant to the University Of Delaware Student Code Of Conduct (“Code of

Conduct”), the Policy governs alleged sexual assaults. Complaint at 27. But a student

 

' The Investigator was a female attorney retained by the University.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 9 of 25 PagelID #: 122

found to be “Responsible” under the Policy is sanctioned under the Code Of Conduct (the
“Sanctions”). Complaint at para. 28.

Sanctions range from the least serious to the most serious forms of punishment as
follows: Warning, Reprimand, Probation, Deferred Suspension, Suspension, Expulsion.
Complaint at para. 29. In the case of a Suspension or Expulsion, a student may be
prevented from completing an ongoing semester of study. Jd.

Sanctions do not include erasing already completed semesters of study or any
vested rights attendant thereto. Complaint at 31. Nowhere do the Sanctions allow for
suspension of an already earned Bachelor’s Degree, Diploma, and official Student
Transcript (“Transcript”). Jd.

Doe participated in the process prescribed by the Policy. Complaint at para. 32.
He was ultimately found Responsible, sanctioned, and his appeal was denied (the “Finding
& Sanction”). But the Finding & Sanction did not occur until Doe had earned his
Bachelor’s Degree, graduated from the University, and ended his enrollment as a student
at the University. Jd. |

The University imposed a suspension on Doe for 2 years (the “Illegal Suspension”),
even though he was no longer a student and despite the fact that he had completed his
Bachelor’s Degree. Complaint at para. 34. The Sanctions do not authorize the imposition
of a retrospective Suspension of a former student. Jd. The University also sanctioned Doe
via the listing of the Illegal Suspension on his Transcript (the “Transcript Note”).
Complaint at para. 35.

The University has refused and declined to: 1) confer the Bachelor’s Degree and

Diploma which Doe is entitled to; 2) provide Doe with his Transcript, either with or
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 10 of 25 PagelD #: 123

without the Transcript Note on it; and 3) confirm to the ROTC Program that Doe
successfully completed his Bachelor’s Degree and received his Diploma. Complaint at
para. 36.

Doe had no disciplinary record during the time that he was enrolled at the
University and completed all requirements to be conferred his Bachelor’s Degree.
Complaint at para. 38. The alleged conduct which Doe was found Responsible for is at
most in the modest range in terms of degree of severity. Jd.

The University unreasonably and arbitrarily imposed a suspension sanction that far
exceeds what the circumstances and Doe’s pristine record justified. Complaint at para. 39,
The University’s sanctions were excessive and unreasonable, constitute an erroneous
outcome, and are sex-based discrimination in violation of Title [X. Jd.

D. The Defendants Have Breached Doe’s Enrollment Contract, Taken Valuable

Property Rights, Exceeded Their Jurisdiction & Violated Doe’s Constitutional
Rights

Doe’s tenure at the University was based upon an enrollment agreement (the
“Enrollment Contract”). Complaint at para. 43. If Doe complied with all Bachelor’s
Degree requirements and paid all sums due, then the University would issue his Bachelor’s
Degree. Jd. Doe paid all amounts due and completed all requirements. Complaint at para.
44,

The alleged incident which formed the basis for the complaint involved an
encounter between Doe and Roe at Roe’s apartment located on private property off of the
University’s campus between June 30, 2018 and July 1, 2018. Complaint at para. 47, At
that time, the University was out of session and neither Doe nor Roe were currently enrolled

in any University courses (i.e. they were on Summer Break). Jd.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 11 of 25 PagelD #: 124

The Policy provides that jurisdiction only exists where: a) the alleged incident
occurred on Campus or in a University program or activity; and b) under 3 other egregious
or highly dangerous situations. Complaint at para. 48. No such extreme circumstances

existed regarding the alleged incident between Doe and Roe. Jd.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 12 of 25 PagelD #: 125

ARGUMENT

I, RULE 10(a) WILL BE COMPLIED WITH

 

Doe will be filing a Motion for permission to proceed under a pseudonym, Counsel
for the Defendants has indicated that such Motion is not opposed.

II. DOE’S CLAIMS PASS MUSTER UNDER RULE 12(b)(6)
OR AMENDMENT SHOULD BE ALLOWED

A. Standard Of Review Under F.R.C.P. Rule 12(b)(6)

In considering a Rule 12(b)(6) Motion to Dismiss, the Court “must accept as true
all of the factual allegations in the complaint as well as the reasonable inferences that can
be drawn from them.” Doe v. Delie, 257 F.3d 309, 313 (3" Cir. 2001). Dismissal is only
appropriate “if it is clear that no relief could be granted under any set of facts that could be
proved consistent with the allegations.” Jd. Factual allegations of the Complaint need only
rise to the level “above the speculative”; “a complaint attacked by a Rule 12(b)(6) motion
to dismiss does not need detailed factual allegations... .” Bell Atlantic Corp. v. Twombly,
550 U.S. 544, 555 (2007).

Generally, a Motion to Dismiss must be converted to a Motion for Summary
Judgment pursuant to Fed. R. Civ. Pro. Rule 12(d) “if matters outside the pleadings are
presented and not excluded.” Apau y. Printpack Inc.,'722 F.Supp. 2d 489, 492 (D. Del.
2010). An exception to the Rule exists for undisputedly authentic documents attached as
an exhibit to a Motion to Dismiss, if a plaintiffs claim is based on that document. Jd.

B. Sufficient Title IX Violation Allegations Are
Contained In The Complaint

 

For starters, the Opening Brief completely ignores the Title IX claim based upon
lack of jurisdiction. Looking to the text of the relevant statute, 20 U.S.C. § 1681, it is both

pled and clear under the law that Title IX proceedings may only be brought when there is
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 13 of 25 PagelD #: 126

a connection with university programs or activities, The Complaint pleads that there is no
such connection, as the incident occurred outside the school year and off campus, thereby
sufficiently alleging a violation of Title IX. Because the Defendants do not seek dismissal
of that component of Count I of the Complaint, it survives the Motion.

Next, the Defendants focus on the Erroneous Outcome component of Doe’s Title
IX claim, alleging that it is not sufficiently pled. At the outset, it should be noted that it is
not easy to compile specific evidence of gender bias in a sexual misconduct system at the
University since such proceedings are confidential. All a plaintiff can do is assert that:
1) the illegal conduct he was subjected to was obviously based on a reason other than the
merits; and 2) certain information that is publicly available and anecdotal evidence
establishes a pattern of discrimination against male students and taking supra-legal steps
to favor female complainants.” An inference of gender bias can be drawn from such non-
speculative allegations.

The Complaint pleads the failure of the Defendants to: 1) provide Doe with a copy
of the complaint as required by the University’s Sexual Misconduct Policy (“Policy”);
2) provide any description of the factual grounds for (conclusorily) alleging “sexual
assault” in the University’s Notice Letter; 3) give Doe even a summary of the allegations
contained in the complaint at an appropriate stage in the process; 4) allow Doe to confront
his accuser at a disciplinary hearing; 5) limit any Sanctions imposed against Doe to those
permitted by the Code of Conduct; and 6) issue Doe his Bachelor’s Degree, Diploma, and

clean Transcript as he was legally entitled to. Complaint at paras. 16.-36. In addition, the

 

* Exhibit A hereto is the only public disclosure that could be found of similar University illegalities.
The University attempts to hide the gender of some complainants and respondents via use of the
gender neutral pronoun “they.” But many reported incidents include gender identifying pronouns.
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 14 of 25 PagelD #: 127

Complaint alleges that the Policy fails to comport with Constitutional requirements since:
1) the Policy and practices of Defendants overly protect the predominantly female
complainants and punish the predominantly male respondents; 2) the University regularly
takes jurisdiction over sexual assault complaints that are not within the jurisdiction of Title
IX or the Policy; 3) the University discriminates against accused males and unduly favors
predominantly female complainants “out of fear of Federal funding recriminations and
based upon sex discrimination.”; and 4) the University regularly and improperly exercises
jurisdiction where there are female accusers and alleged male perpetrators “based upon
discriminatory presumption that male students are the responsible person.” Complaint at
paras. 56. and 57,

It has been held that a State university’s exercise of Title IX jurisdiction over a
student regarding conduct that did not occur on campus or at a university event was an
impermissible exercise of jurisdiction; the student Code of Conduct only applied to conduct
on campus or at a university sponsored activity. Yeasin v. University of Kansas, 360 P.3d
423, 954-55 (Kan. App. 2015). In the case at bar, the Complaint adequately alleges that
the Defendants exceeded the jurisdiction provided in Title [IX and the Policy, thereby
rendering the entire process against Doe invalid. That more than adequately states a claim
under both Title IX and the Due Process Clause.

It has also been held that a male student at the University of Michigan adequately
pled a Title IX claim by alleging “that the university did not provide an opportunity for
cross-examination even though credibility was at stake in his case... .” Doe v. Baum, 903
F.3d 575, 585-86 (6" Cir. 2018). The Complaint similarly alleges. And the Complaint

goes on to allege that the reason for the Policy’s failure to provide such a Constitutionally
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 15 of 25 PagelD #: 128

required Due Process Right to Doe is based upon gender-based discrimination, which
attempts to coddle and shield female accusers in a biased fashion. As a result, a Title IX
claim is well-pled.

Reasonable inferences can be drawn from the allegations contained in the
Complaint that the University is conducting its proceedings against Doe and other male
students in a fashion that is founded upon gender discrimination. The University is scared
to death of losing Federal funding, which is a possible outcome if the United States
Department of Education concludes that it is not enforcing Title IX. And the University
overreacts to the point of accepting jurisdiction over matters that fall well outside of the
bounds of Title IX and the Policy. The University intentionally violated Doe’s Due Process
Rights, took cognizance of a complaint it had no jurisdiction over, and imposed an illogical
and illegal sanction. This establishes that there was only a non-meritorious basis for the
University’s actions vis-a-vis Doe. Tacking on the allegations that the University has
gender-slanted procedures and makes presumptions regarding the Responsible nature of
male respondents, the Complaint pleads all that is needed to validly assert an Erroneous
Outcome claim under Title IX.

The Code of Conduct and the Policy make it clear that no one other than a few
University personnel can ever see the files in these types of matters, thereby rendering it
impossible for someone to have the necessary specific details that the Defendants assert
are necessary to sufficiently plead a claim under Title IX. That is why the all-important
reasonable inferences, which the applicable legal standard requires the Court to draw in

favor of Doe, kick in to insure that allegations such as those contained in the Complaint

10
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 16 of 25 PagelD #: 129

are sufficient to withstand a Motion to Dismiss, Doe has satisfied the minimal notice
pleading standard. The Motion should be denied.

C, Doe Pled Constitutional Due Process Violations

Under nearly identical circumstances, a sister District Court has held that the
disciplinary procedure employed by a State-supported university raised Due Process
Constitutional concerns sufficient to deny the university’s motion to dismiss. Doe v.
Pennsylvania State University, 336 F.Supp 3d 441, 450-51 (M.D. Pa, 2018). In that action,
a student found to have committed a sexual assault received a sanction of suspension for 1
year. The process employed was investigation (no hearing), no cross-examination of
accuser, etc., identical to the facts pled by Doe in the Complaint. Similarly, this Court
should deny the Defendants’ Motion to Dismiss since a Constitutional Due Process claim
has been well-pled.

Echoing that decision’s rationale - that the investigative model does not pass muster
under Due Process analysis where suspension is a potential sanction and the determination
of the allegation is credibility-based - is Doe v. Pennsylvania State University, 276 F Supp.
3d 300, 308-311 (M.D. Pa. 2017). Similarly, the 7" Circuit has held that a complaint that
alleges a university took established property rights, including the right to not be suspended
without good cause, supports a Due Process claim. Doe v. Purdue University, 928 F.3d
652, 660 (7" Cir. 2019). Here, Doe has adequately pled that he has aright to his Bachelor’s
Degree, Diploma, and Transcript based upon his performance of all requirements to obtain
the conferral thereof, including payment of all amounts due to the University and

completion of all course work before any Sanction was imposed upon him?

 

 

3 The Complaint also points out how the 11+ month delay from the date of the incident to the final
decision against Doe was caused solely by foot dragging on the part of the Complainant and the

11
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 17 of 25 PagelD #: 130

And perhaps more notably, the 7" Circuit held that the student adequately pled
deprivation of a protected liberty interest for purposes of triggering the applicability of Due
Process protections based upon his allegation that he was denied the freedom to pursue
service in the United States Military, just as Doe’s Complaint does. Doe v. Purdue
University at 661-663. The Complaint alleges that Doe was not afforded: 1) a copy of the
complaint as required by the Policy; 2) advance notice of any of the allegations contained
in the complaint, or a summary thereof; 3) the ability to cross-examine and thereby
challenge the credibility of the complainant; and 4) the right to only be subject to a sanction
permitted by the Policy and the Code of Conduct. These fundamental violations of Doe’s
Due Process Rights are more than sufficient to withstand Rule 12(b)(6) scrutiny and
therefore the Motion to Dismiss should be denied.

Further, it has been held that the suspension of a student clearly implicates a
protected property interest and that allegations of sexual assault may impugn a student’s
reputation and integrity so as to implicate a protected liberty interest. Doe v. Rector and
Visitors of University of Virginia, 2019 WL 2718496, *5, Conrad, D.J. (W.D. Va., June 28,
2019), citing Doe v. Alger, 175 F, Supp. 3d 646, 657-58 (W.D. Va. 2016) and Doe v. Rector
& Visitors of George Mason University, 149 F, Supp. 3d 602, 622 (E.D. Va. 2016). In
holding that there was a likelihood of success on the merits of the Due Process claims, the
Court relied upon the fact that the student “had completed the requirements for his
undergraduate degree and was no longer enrolled in classes at the University.” Jd. at *6.

The Court also found it significant that the alleged incident occurred off campus on private

 

University (not due to Doe). And the Complaint pleads that the University was fully aware that
Doe was about to graduate but took 6 months to adjudicate the complaint against Doe, resulting in
a University self-inflicted harm that it cannot now be heard to complain of.

12
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 18 of 25 PagelD #: 131

property. Both of those facts are present in this action. Ultimately, the Court held that
because the process provided by the University of Virginia did not allow the student to
contest jurisdiction, a colorable claim for violation of Constitutional Due Process Rights
had been alleged. The jurisdiction-based nature of Doe’s claim in this action therefore
adequately pleads a Due Process violation.

As for substantive Due Process, the 3" Circuit has held that a person is protected
from arbitrary or irrational deprivation of rights deemed “fundamental” under the
Constitution. Nicholas y. Pennsylvania State University, 227 F.3d 133, 142 (3 Cir. 2000).
And in applying that standard, another District Court has held that liberty interests that are
alleged to have been violated sufficiently satisfy the “fundamental” right standard of
Nicholas, Collick v, William Paterson University, 2016 WL 6824374, *17, McNulty, D.J.
(D.N.J., Nov. 17, 2016). The Complaint pleads violations of Constitutionally protected
liberty interests in serving in the United States Military, not being subjected to unavailable
Sanctions, and harm to Doe’s reputation. So the Complaint alleges an arbitrary and
irrational deprivation of Doe’s fundamental Constitutional rights.

D. No Jurisdiction Existed Over Doe Under The Policy

The Defendants concede that the Policy expressly limits its jurisdictional breadth
to sexual assault committed by a student off University property in only 4 specific
circumstances: 1)a connection with a University recognized program or activity;
2) conduct allegedly creating a hostile environment for a member of the University
community; 3) conduct disruptive to the normal functions and processes of the University;
and egregiously offensive to the University’s Mission; and 4) conduct which renders a

respondent’s continued presence on campus a serious threat to persons or property. OB at

8,

13
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 19 of 25 PagelD #: 132

First, the Defendants concede that factor 1 is not present (apparently due to the off-
campus, Summer occurrence having no connection with any University program or
activity). Second, no allegation in the Complaint supports a finding of a “hostile
environment” to any University community member caused by the alleged incident. Third,
the alleged conduct did not disrupt any University functions or processes since it did not
occur on campus or in any University program or activity, or in any way interfere with the
day-to-day operations of the University. In addition, there is no chance of an egregious
offense to the University’s Mission since the Mission is solely focused on academics,
which were not disturbed by the off campus, non-school year occurrence. See Exhibit B
attached (University Mission Statement). Fourth, Doe’s continued presence on campus
obviously did not pose a serious threat to any persons or property since the Defendants did
not issue an Interim Suspension that would have prohibited him from completing all of his
course work and requirements to obtain his Degree effective May of 2019 (despite the
University’s receiving the complaint 2 months before the Spring semester commenced).
See Policy at § VILB.

The extreme circumstances necessary to satisfy Policy jurisdictional grounds 2, 3,
and 4 ~ “hostile environment,” “egregiously offensive,” and “serious threat” — simply are
not present under the facts extant. Consequently, the Defendants’ argument that
jurisdiction existed abysmally fails.

Additionally, the Defendants’ citation to fact-finding in decisional law authority is

of no moment to the issue at the Motion to Dismiss stage. OB at 8-9. Those findings of

 

‘ An alleged violation of the Policy alone cannot trigger jurisdiction since every case would ipso
facto be within the Policy’s jurisdiction, One can always surmise harms to an alleged victim, but
the Policy requires evidentiary proof. The Defendants’ reading of the Policy is in error.

14
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 20 of 25 PagelD #: 133

fact have no bearing on the pleadings stage record before the Court. Indeed, the Complaint
alleges that at most there was a moderate level incident and that Doe completed all of his
course work successfully. Therefore, the Court may infer that all was well and there were
no problems with Doe’s continued presence on campus, rendering it impossible for the
University to establish the extreme types of circumstances necessary for it to exercise
jurisdiction under the Policy. Actions speak louder than words. The University obviously
did not believe that any extreme circumstances existed or else it would have: 1) imposed
an Interim Suspension of Doe; and 2) moved with great dispatch in adjudicating the
complaint. No evidence of any “hostile environment,” “egregiously offensive”
circumstance, or “serious threat” is before the Court at this stage.

Lastly, the Defendants desperately cling to an overly broad Sanctions provision for
the theory that they have unbridled discretion to impose any sanction they wish. OB at 10-
11. Obviously, that argument offends fundamental principles of Due Process. Even if the
Sanctions provision cited — § A.3. - permitted the suspension of a non-student or denial of
vested rights to a Degree, Diploma, and Transcript (which it does not), the argument should
be rejected as a post hoc rationalization. The Sanctions provision relied upon to suspend
Doe is contained in section A.2,j.: entitled “Suspension and Ban from the University.” But
it could not be applied by its own terms since Doe was no longer a “student,” taking
“classes,” or “participating in University activities.” And § A.2,j. does not provide that its
imposition allows the University to deny a former student the Bachelor’s Degree, Diploma,
and Transcript he has earned.

Taken to its logical conclusion, the Defendants’ unbridled discretion argument

would mean that the University could sanction a student by permanently erasing his entire

15
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 21 of 25 PagelD #: 134

academic accomplishments at the University and forever refuse to issue a Bachelor’s
Degree, Diploma, and Transcript that the student had paid for and earned in full. The
University’s position is arbitrary and irrational. The University’s illogical theory that it
may issue a Suspension nunc pro tunc after the University dragged its feet for 6 months in
undertaking a process that could and should have been completed in 60 days should be
rejected by the Court. A claim is well-pled for impermissible sanction, the Defendants’
dislogical protestations to the contrary notwithstanding.

E. The Individual Defendants Are Not Entitled To
Qualified Immunity

The individual Defendants allege that they were blissfully ignorant of the fact that
they were violating Title IX and Doe’s Due Process Rights, breaching the Enrollment
Contract, and breaking promises to Doe. OB at 14-15. More specifically, the individual
Defendants allege that their conduct did not violate “clearly established statutory or
constitutional rights of which a reasonable person would have known.” OB at 14. Title
IX is certainly well-known to the individual Defendants. And so is the United States
Constitutional provision guaranteeing a student Due Process of law. Accordingly, the
individual Defendants’ argument fails.

Decisional law authority cited herein establishes the limited jurisdiction of Title IX
and the Due Process rights of cross-examination of the accuser, the exercise of jurisdiction
only as set forth in the Policy, and the obligation to abide by the Sanctions provisions.
Despite that well-established body of law, the individual Defendants flaunted it by clinging
to their Unconstitutional process, exercising supra-legal jurisdiction over the complaint.
So too did the individual Defendants: 1) allow an illogical and impermissible Sanction ~

Suspension ofa non-student — to be imposed; and 2) deny Doe his vested rights to a Degree,

16
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 22 of 25 PagelD #: 135

Diploma, and Transcript. Finally, the individual Defendants violated Doe’s substantive
Due Process Rights based upon the negative effect on his liberty interest to proceed with
his planned induction into the United States Military and acted arbitrarily and irrationally
be failing to abide by their legal obligation to confer a Bachelor’s Degree, Diploma, and
Transcript upon Doe.

The clear-cut violations of Doe’s well-established rights forecloses the individual
Defendants from establishing Qualified Immunity. Therefore, the Court should deny that
component of the Motion to Dismiss.

F, The Contract And Quasi-Contract Claims Are Not

Founded Upon A “Catalog” Or The Student Guide to
University Policies

The Defendants argue for dismissal of the Breach of Contract, Promissory Estoppel,
Breach of Implied Covenant of Good Faith and Fair Dealing, and Specific Performance
claims pursuant to an admittedly “speculative” and flawed premise that those claims are
founded upon the Student Guide to University Policies. OB at 17 and Exhibit B. Not so.
Consequently, the Defendants’ request for dismissal of Counts IV through VII is without
merit.>

The Complaint alleges that Doe: 1) was enrolled in a Bachelor’s Degree program
at the University; 2) successfully completed all requirements needed to obtain his
Bachelor’s Degree by May of 2019, 3) participated in the formal graduation ceremony on

June 1, 2019; and 4) unconditionally completed his course of study and ended any

 

> The Defendants’ request for dismissal of Count III for Declaratory Judgment fails ipso jure based
upon the preceding Argument sections.

17
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 23 of 25 PagelD #: 136

enrollment at the University in May of 2019.° Complaint at paras. 8.-11. The Complaint
also alleges an agreement existed between Doe and the University “that if Doe complied
with all Bachelor’s Degree requirements and paid all sums due, then the University would
issue a Bachelor’s Degree to him.” Complaint at para. 43. Finally, the Complaint alleges
that Doe earned his Bachelor’s Degree by completing all requirements and paying all
amounts due to the University. Complaint at para. 44.

The Complaint adequately alleges an enforceable contract existed under Delaware
law, to-wit: an offer, an acceptance, consideration, and full performance by Doe. See
Johnson v. Rooney, 2011 WL 2178693, *2, Scott, J. (Del. Super. 2011). The sole
performance remaining to be carried out is the University’s obligation to issue a Bachelor’s
Degree, Diploma, and Transcript to Doe. The claims for Promissory Estoppel and Breach
of the Implied Covenant of Good Faith and Fair Dealing are expressly brought in the
alternative, in case the Court should conclude that there was no express contract entered
into between the parties.

The inferences that may be drawn from the allegations pled abound. Doe paid and
satisfied all requirements to graduate and receive his Degree, Diploma, and Transcript.
The University has not performed its part of the bargain, thereby entitling Doe to a
Declaratory Judgment and Damages arising from all matters that directly flow from the
Defendants’ breach. Those Damages are significant, and they become even more

substantial as the Defendants continue to deny their legal obligation to bestow the

 

6 The “Graduation & Diplomas” printout from the University’s website attached as Exhibit C to the
Opening Brief cannot be relied upon under the applicable legal standard and it is irrelevant since it
post-dates Doe’s graduation.

18
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 24 of 25 PagelD #: 137

Bachelor’s Degree, Diploma, and Transcript upon Doe. As a result, the Defendants’
request for dismissal of Counts II] through VII should be denied.

G. The Complaint Well Pleads Facts Sufficient To
Assert Claims Against The Board

Ignoring the provisions of 14 Del. C. Ch. 51, which is cited in paragraph 3 of the
Complaint, the Board suggests that it should be dismissed based upon supposed failure to
allege any claims against it. OB at 19. Both the provisions of Title 14, Chapter 51 of the
Delaware Code and the pleading establish that the Board does “possess all legal authority
to operate and conduct the business and affairs of the University” and that the Board is the
party responsible for all aspects of the University’s functions.

Both express allegations of the Complaint and reasonable inferences therefrom
establish that the Policy, the gender bias inherent in the process, the improper exercise of
jurisdiction, the illegal sanction, and the contract and quasi-contract claims for failure to
provide Doe with his Bachelor’s Degree, Diploma, and Transcript all fall within the duties
and responsibilities of the Board. It is alleged that the Board promulgated and acted so as
to give rise to all 7 Counts of the Complaint. Thus, the claims against the Board are
sufficient to withstand Rule 12(b)(6) review.

H. An Opportunity To Amend Should Be Permitted, If
Necessary

 

To the extent the Court concludes there is any deficiency in any claim pled, Doe
requests the opportunity to seek amendment of the Complaint pursuant to Fed. R. Civ. Pro.

15 to moot the issue(s).

19
Case 1:19-cv-01963-MN Document 10 Filed 11/27/19 Page 25 of 25 PagelD #: 138

CONCLUSION

Based upon the foregoing, Doe respectfully requests that the Court deny the
Defendants’ Motion to Dismiss in its entirety. Federal and State law claims are all well
pled so that they withstand the Motion as a matter of law. The requisites needed to establish
qualified immunity have not been proven under the applicable legal standard. And any
defect in pleading a claim should be subject to a curative amendment to the Complaint.
The action should proceed to discovery and adjudication on its merits,

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20
